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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-0879V
                                        UNPUBLISHED


    TIMOTHY ANDREWS,                                        Chief Special Master Corcoran

                        Petitioner,                         Filed: August 30, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


Robert Deniger Cobb, Jr., Nahon, Saharovich & Trotz, Memphis, TN, for Petitioner.

Ryan Daniel Pyles, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

        On June 14, 2019, Timothy Andrews filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barre Syndrome (“GBS”) as a
result of an influenza vaccine received on October 9, 2017.3 Petition at 1. Petitioner further
alleges the vaccine was administered in the United States, Petitioner has suffered the
sequela of his injury for more than six months, and neither Petitioner nor any other party
has filed an action for, or received compensation in the form of an award or settlement


1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
3
  The petition asserted alternative claims of scleroderma and radial neuropathy, which Respondent did not
concede in his Rule 4(c) Report. The alternative claims were discussed in a July 29, 2021 status
conference, after which the parties resolved the case through the agreed-upon proffer. In light of the
resolution of the case, the alternative claims need not be addressed further.
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for, Petitioner’s vaccine-related injury. Petition at ¶¶ 2, 35-37. The case was assigned to
the Special Processing Unit of the Office of Special Masters.

       On July 13, 2021, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case for GBS. Respondent’s Rule 4(c) Report
at 1. Specifically, Respondent agrees that Petitioner has satisfied the criteria set forth in
the Vaccine Injury Table and Qualifications and Aids to Interpretation for GBS. Id. at 16-
17. Respondent further agrees that the statutory six month sequelae requirement has
been satisfied and Petitioner has satisfied all legal prerequisites for compensation under
the Act. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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